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                                                                               JURYDEMAND,TRANSOUT
                                    U.S. District Court
      United States District Court for the Western District of Washington (Seattle)
                   CIVIL DOCKET FOR CASE #: 2:19−cv−00951−JLR

Hong v. Recreational Equipment Inc et al                     Date Filed: 06/18/2019
Assigned to: Judge James L. Robart                           Date Terminated: 10/25/2019
Cause: 17:101 Copyright Infringement                         Jury Demand: Plaintiff
                                                             Nature of Suit: 820 Copyright
                                                             Jurisdiction: Federal Question
Plaintiff
Tony Hong                                       represented by Christopher M Huck
                                                               GOLDFARB & HUCK ROTH RIOJAS, PLLC
                                                               925 FOURTH AVENUE, STE 3950
                                                               SEATTLE, WA 98104
                                                               206−452−0260
                                                               Fax: 206−397−3062
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                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

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                                                             GOLDFARB & HUCK ROTH RIOJAS, PLLC
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V.
Defendant
Recreational Equipment Inc                      represented by David A Kazemba
a Washington corporation                                       OVERCAST LAW OFFICE, PS
                                                               23 S. WENATCHEE AVE., STE 320
                                                               WENATCHEE, WA 98801
                                                               509−663−5588
                                                               Email: dkazemba@overcastlaw.com
                      Case 4:19-cv-00435-BLW Document 19 Filed 11/13/19 Page 2 of 3
                                                                           ATTORNEY TO BE NOTICED

Defendant
Samuel Krieg                                               represented by David A Kazemba
doing business as                                                         (See above for address)
Krieg Climbing Cycling                                                    ATTORNEY TO BE NOTICED
doing business as
Krieg USA

Defendant
Does 1−10                                                  represented by David A Kazemba
inclusive                                                                 (See above for address)
                                                                          ATTORNEY TO BE NOTICED


 Date Filed       #      Docket Text

 06/18/2019      Ï1      COMPLAINT against All Defendants with JURY DEMAND (Receipt # 0981−5812856), filed by
                         Tony Hong. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Summons Recreational
                         Equipment Inc., # 5 Summons Samuel Krieg, # 6 Civil Cover Sheet)(Riojas, Rogelio) (Entered:
                         06/18/2019)

 06/19/2019       Ï      Judge James L. Robart added. (SNP) (Entered: 06/19/2019)

 06/19/2019      Ï2      NOTICE TO FILER: re 1 Complaint,. Notice of Filing Deficiency
                         ** Action Required ** See Attached Letter for More Information and Instructions. (SNP) (Entered:
                         06/19/2019)

 06/19/2019      Ï3      Summons(es) Electronically Issued as to defendant(s) Samuel Krieg, Recreational Equipment Inc
                         (Attachments: # 1 Summons)(SNP) (Entered: 06/19/2019)

 06/20/2019      Ï4      REPORT on the filing or determination of an action. Mailed to the US Copyright Office (SNP)
                         (Entered: 06/20/2019)

 06/28/2019      Ï5      AFFIDAVIT of Service of Summons and Complaint on Recreational Equipment, Inc. on
                         6/21/2019, filed by Plaintiff Tony Hong. (Riojas, Rogelio) (Entered: 06/28/2019)

 08/09/2019      Ï6      NOTICE of Appearance by attorney David A Kazemba on behalf of Defendants Does 1−10,
                         Samuel Krieg, Recreational Equipment Inc. (Kazemba, David) (Entered: 08/09/2019)

 08/09/2019      Ï7      CORPORATE DISCLOSURE STATEMENT indicating no Corporate Parents and/or Affiliates.
                         Filed pursuant to Fed.R.Civ.P 7.1. Filed by Recreational Equipment Inc (Kazemba, David)
                         (Entered: 08/09/2019)

 08/09/2019      Ï8      MOTION to Dismiss and to Transfer Venue, filed by Defendants Does 1−10, Samuel Krieg,
                         Recreational Equipment Inc. (Attachments: # 1 Declaration of Samuel Krieg in Support of Motion
                         to Dismiss and Transfer Venue, # 2 Proposed Order) Noting Date 9/13/2019, (Kazemba, David)
                         (Entered: 08/09/2019)

 08/16/2019      Ï9      ORDER REGARDING INITIAL DISCLOSURES AND JOINT STATUS REPORT by Judge
                         James L. Robart. Joint Status Report due by 9/20/2019, FRCP 26f Conference Deadline is
                         8/30/2019, Initial Disclosure Deadline is 9/13/2019. (AD) (Entered: 08/16/2019)

 08/27/2019    Ï 10      APPLICATION OF ATTORNEY Joanna Ardalan FOR LEAVE TO APPEAR PRO HAC VICE
                         for Plaintiff Tony Hong (Fee Paid) Receipt No. 0981−5901373 (Riojas, Rogelio) (Entered:
                         08/27/2019)
                    Case 4:19-cv-00435-BLW Document 19 Filed 11/13/19 Page 3 of 3
08/27/2019   Ï 11   ORDER re 10 Application for Leave to Appear Pro Hac Vice. The Court ADMITS Attorney
                    Joanna Ardalan for Plaintiff Tony Hong, by Clerk William M McCool. No document associated
                    with this docket entry, text only.

                    NOTE TO COUNSEL: Local counsel agrees to sign all filings and to be prepared to handle the
                    matter, including the trial thereof, in the event the applicant is unable to be present on any date
                    scheduled by the court, pursuant to LCR 83.1(d).(DS) (Entered: 08/27/2019)

09/09/2019   Ï 12   RESPONSE, by Plaintiff Tony Hong, to 8 MOTION to Dismiss and to Transfer Venue.
                    (Attachments: # 1 Proposed Order Proposed Order Denying Motion to Dismiss)(Riojas, Rogelio)
                    (Entered: 09/09/2019)

09/09/2019   Ï 13   DECLARATION of JOANNA ARDALAN filed by Plaintiff Tony Hong re 8 MOTION to Dismiss
                    and to Transfer Venue (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Riojas, Rogelio) (Entered:
                    09/09/2019)

09/13/2019   Ï 14   REPLY, filed by Defendants Does 1−10, Samuel Krieg, Recreational Equipment Inc, TO
                    RESPONSE to 8 MOTION to Dismiss and to Transfer Venue (Kazemba, David) (Entered:
                    09/13/2019)

09/13/2019   Ï 15   DECLARATION of Samuel Krieg in Support of Motion to Dismiss and to Transfer Venue filed by
                    Defendants Does 1−10, Samuel Krieg, Recreational Equipment Inc re 8 MOTION to Dismiss and
                    to Transfer Venue (Kazemba, David) (Entered: 09/13/2019)

09/20/2019   Ï 16   JOINT STATUS REPORT signed by all parties estimated Trial Days: 3−5 days. Filed by Plaintiff
                    Tony Hong.(Ardalan, Joanna) (Entered: 09/20/2019)

09/24/2019   Ï 17   MINUTE ORDER SETTING TRIAL DATE AND RELATED DATES by Judge James L. Robart;
                    Length of Trial: *1−5 days*. Jury Trial is set for 1/25/2021 at 01:30 PM in Courtroom 14106
                    before Judge James L. Robart. Joinder of Parties due by 10/22/2019, Amended Pleadings due by
                    7/29/2020, Expert Witness Disclosure/Reports under FRCP 26(a)(2) due by 7/29/2020, Motions
                    due by 8/28/2020, Discovery completed by 9/28/2020, Dispositive motions due by 10/27/2020,
                    Attorney settlement conference to be held by 11/27/2020, Motions in Limine due by 12/14/2020,
                    Pretrial Order due by 1/4/2021, Deposition Designations due by 1/6/2021, Pretrial Conference set
                    for 1/11/2021 at 02:00 PM in Courtroom 14106 before Judge James L. Robart. Trial briefs to be
                    submitted by 1/19/2021, Proposed voir dire/jury instructions due by 1/19/2021. (AD) (Entered:
                    09/24/2019)

10/25/2019   Ï 18   ORDER granting in part and declining to rule in part Defendant's 8 Motion to Dismiss or Transfer
                    Venue. The court grants Defendants' motion to transfer venue to the District of Idaho, and declines
                    to rule on Defendants; motion to dismiss in deference to the district court in the District of Idaho.
                    Signed by Judge James L. Robart. (SWT)

                    The Clerk will transfer this case to the District of Idaho by electronic case transfer 15 days
                    following the date of this filing. (Entered: 10/25/2019)
